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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Relates to
Case No. 13-cv-02171-SC (N.D. Cal.)

DELL INC. AND DELL PRODUCTS L.P.,
Plaintiffs,
V.
HITACHI, LTD., ef al.,

Defendants.

Case No. 07-5944 SC
MDL No. 1917

[PROPOSED] ORDER GRANTING
THE TOSHIBA DEFENDANTS’
ADMINISTRATIVE MOTION TO
FILE DOCUMENTS UNDER SEAL
PURSUANT TO CIVIL LOCAL
RULES 7-11 AND 79-5(d)

[PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION
TO FILE DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
Case No. 07-5944 SC
MDL No, 1917

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Upon consideration of the Toshiba Defendants’ Administrative Motion to File
Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-S(d), submitted in
connection with the Toshiba Defendants’ Response to Plaintiffs’ October 15, 2013 Letter
Seeking Discovery Order and to Strike Errata, it is hereby:

ORDERED that the Administrative Motion is hereby GRANTED; and it is further

ORDERED that the Clerk shall file and maintain under seal portions of the Toshiba
Defendants’ Response to Plaintiffs’ October 15, 2013 Letter Seeking Discovery Order and to
Strike Errata that contain quotations from, or discussion of, deposition testimony that the
parties have designated as “Highly Confidential” and Exhibits 1, 3, 4, 5, 6, and 8 to the
Declaration of Matthew N. Frutig in Support of the Toshiba Defendants’ Response to
Plaintiffs’ October 15, 2013 Letter Seeking Discovery Order and to Strike Errata that consist
of deposition testimony that the Defendants have designated as “Highly Confidential.”

IT ISSO ORDERED.

Dated:

HONORABLE SAMUEL CONTI
UNITED STATES DISTRICT JUDGE

[PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION
TO FILE DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
Case No. 07-5944 SC
MDL No. 1917
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